     Case 18-14600-MBK            Doc 6      Filed 03/09/18 Entered 03/09/18 15:45:53                Desc OSC
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 18−14600−MBK
                                         Chapter: 11
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Princeton Alternative Funding LLC
   100 Canal Pointe Blvd
   Ste 208
   Princeton, NJ 08540−7063
Social Security No.:

Employer's Tax I.D. No.:
  35−2613349

                           ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                             DISMISSED FOR FAILURE TO FILE DOCUMENTS

              The Court having noted that the debtor filed a petition on March 9, 2018, and did not file the following
documents:

         Summary of Assets and Liabilities for Non−Individuals, Declaration Under Penalty of Perjury for Non
Individual Debtors, Statement of Financial Affairs For Non−Individuals, Atty Disclosure Statement, 20 Largest
Unsecured Creditors, List of Equity Security Holders, List of All Creditors, Statement of Corporate Ownership,
Schedules A/B,D,E/F,G,H,.

             The court having noted that the debtor's case was converted to chapter 13 on , and that the Court's local
form, Chapter 13 Plan and Motions has not been filed,

     It is hereby

    ORDERED that the above document(s) must be received by the Clerk on or before 3/23/18 or the case will be
dismissed.

     If you object to dismissal you may file an Application to Extend Time to File Missing Documents or a written
request for a hearing with the Clerk of the Bankruptcy Court at the address above. The Application or request must
be received by the Clerk no later than 3/23/18.

     If an Application to Extend Time to File Missing Documents is filed, the Court will either grant or deny your
request and enter an order.

    If you file a written request for a hearing, you or your attorney must appear at a hearing to be held before the
Honorable Michael B. Kaplan on

Date: April 11, 2018
Time: 10:00 am
Location: Courtroom 8
Address: Clarkson S. Fisher Courthouse
           402 East State Street
           Trenton, NJ 08608−1507
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IMPORTANT: THE MOST RECENT VERSION OF EACH DOCUMENT MUST BE FILED.




Dated: March 9, 2018
JAN: wdr

                                      Michael B. Kaplan
                                      United States Bankruptcy Judge
